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                                             May 28, 2021


VIA ECF

Hon. Lawrence J. Vilardo
United States District Judge
Robert H. Jackson United States Courthouse
2 Niagara Square
Buffalo, New York 14202

          RE:      Swissdigital USA Co., Ltd. v. Avon Lifestyle Pvt. Ltd., et al., No. 1:20-cv-00870-LJV:
                   Update on status and application for Court’s entry of default

Dear Judge Vilardo:

        We represent Plaintiff Swissdigital USA Co., Ltd. (“Swissdigital”). In accordance with the
Court’s December 17, 2020 Order (Dkt. #5), Swissdigital writes to provide an update on its
unsuccessful attempt to serve Defendants Avon Lifestyle Pvt. Ltd. and Naina Parekh (collectively,
“Defendants”), to apprise the Court of its intention to move for default judgment pursuant to
Article 15 of the Hague Convention, and to request that the Court grant its application for an entry
of default.

  I.   Background

       Swissdigital sued Defendants for patent infringement and declaratory judgment of
noninfringement and patent invalidity on July 10, 2020 (Dkt. #1). The following day, on July 11,
Swissdigital emailed a copy of the complaint to both Defendants and informed them that they had
been sued in the United States. See Ex. A (7/11/20 Hunter Li Email). Swissdigital had previously
exchanged email correspondence with Defendants at these email addresses. As detailed in
Swissdigital’s Response to Order to Show Cause (Dkt. #4, “Response”), Swissdigital subsequently
attempted to serve Defendants, who are citizens of India, in accordance with Federal Rule of Civil
Procedure Rule 4 and with the Hague Convention. In August 2020, Swissdigital retained Ancillary
Legal Corporation (“Ancillary”), an international process server, to effect service on Defendants in
India.


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        On December 4, 2020, the Court ordered Swissdigital to show cause why the case should
not be dismissed for failure to timely effect service (Dkt. #3). Swissdigital filed its Response on
December 15 (Dkt. #4), and served the Response on Defendants via email on this date, as noted in
Swissdigital’s Certificate of Service. See Ex. B (12/15/20 Frances Stephenson Email). On December
17, the Court stated that it was “satisfied that Swissdigital is taking the necessary steps to effect
service on the defendants in India” and extended the time for Swissdigital to effect service until May
31, 2021 (Dkt. #5).

         On April 14, 2021, the six-month deadline for service on Defendants expired. That day,
Ancillary contacted Swissdigital’s counsel, informing them that they had “not yet heard from the
Central Authority in India” and providing affidavits in support of a default judgment. See Ex. C
(4/14/21 Ancillary Email); Ex. D (Affidavit of Foss Baker in Support of Plaintiff’s Motion for
Default Judgment on Defendant Naina Parekh); Ex. E (Affidavit of Foss Baker in Support of
Plaintiff’s Motion for Default Judgment on Defendant Avon Lifestyle Pvt. Ltd.). According to these
affidavits, the documents for service in this action were delivered to India’s Central Authority on
October 14, 2020, and the Central Authority was directed to serve these documents on Defendants.
Ex. D, ¶ 7, p.5; Ex. E, ¶ 7, p.5. Ancillary made repeated attempts to contact the Central Authority to
obtain a status update (on February 3, 2021, March 3, 2021, and April 3, 2021) but has received no
response. Ex. D, ¶¶ 8, 10, pp.7-9; Ex. E, ¶¶ 8, 10, pp.7-9.

 II.    Application for entry of default
         Federal Rule of Civil Procedure 4(f) allows for service “by any internationally agreed means
of service that is reasonably calculated to give notice, such as those authorized by The Hague
Convention on the Service Abroad of Judicial and Extrajudicial Documents.” Fed. R. Civ. P. 4(f).
Both the United States and India are signatories to the Hague Convention, and that agreement
governs service of process by transmittal of documents abroad in this case. See, e.g., Volkswagenwerk
Aktiengesellschaft v. Schlunk, 486 U.S. 694, 705 (1988) (“Compliance with the Convention is mandatory
in all cases to which it applies ....”); Fed. R. Civ. P. 4 Advisory Committee’s Note (“Use of the
Convention procedures, when available, is mandatory if documents must be transmitted abroad to
effect service.”).

         Article 15 of the Hague Convention “provides that a member state may permit its courts to
enter a default judgment in the absence of a returned Certificate [of service or delivery] where at
least six months have passed since the documents were sent to the defendant and the plaintiff has
made ‘every reasonable effort’ to obtain a Certificate.” Burda Media, Inc. v. Viertel, 417 F.3d 292, 302
(2d Cir. 2005) (quoting Hague Convention, Art. 15). Specifically, Article 15 allows for default
judgment if three conditions are satisfied: (1) “the document was transmitted by one of the methods
provided for in this Convention”; (2) “a period of time of not less than six months, considered
adequate by the judge in the particular case, has elapsed since the date of the transmission of the
document”; and (3) “no certificate of any kind has been received, even though every reasonable
effort has been made to obtain it through the competent authorities of the State addressed.” Hague
Convention, Art. 15.

        All of these requirements are satisfied here. First, the documents for service in this action
were transmitted to India’s Central Authority as required by treaty by a method for service provided



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in Article 5(a).1 Ex. D, ¶¶ 7, 10, p.5; Ex. E, ¶¶ 7, 10, p.5. Second, more than six months have elapsed
since the documents were transmitted to the Central Authority. Ex. C; Ex. D, ¶¶ 7, 10, p.5; Ex. E, ¶¶
7, 10, p.5. And finally, no certificate of any kind has been received, even though every reasonable
effort has been made to obtain it from India’s Central Authority. Ex. C; Ex. D, ¶¶ 7-8, 10, pp.7-9;
Ex. E, ¶¶ 7-8, 10, pp.7-9. Furthermore, Swissdigital provided actual notice of this lawsuit to
Defendants on multiple occasions, including when the complaint was filed and when Swissdigital
filed its Response to the Court’s December 4 Order. See Ex. A; Ex. B. Accordingly, default judgment
would be proper in this case. See Hague Convention, Art. 15; Kiss Nail Prods., Inc. v. Shenzhen Jinri
Elec. Appliance Co., No. CV185625, 2020 WL 4679631, at *4-5 (E.D.N.Y. July 23, 2020), report and
recommendation adopted, No. 18CV5625S, 2020 WL 4676415 (E.D.N.Y. Aug. 12, 2020) (recommending
that a default judgment may be entered under the Hague Convention even though no certificate of
service or response had been received from the Chinese Central Authority).

        For these reasons, Swissdigital respectfully requests that the Court grant its application for an
entry of default.

                                                Sincerely,

                                         /s/Dariush Keyhani

                                           Dariush Keyhani
                                            Keyhani LLC
                                          Attorneys for Plaintiff




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  The only way to serve documents in India is through the Central Authority; documents cannot be
served via mail or directly to defendants by private judicial officer. See Website of Ministry of
External Affairs: Government of India, https://www.mea.gov.in/service-of-summons-abroad.htm
(last visited May 27, 2021).

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                              CERTIFICATE OF SERVICE

      A copy of this Letter, Exhibits A-E, and accompanying declarations were served on
Defendants Avon Lifestyle Pvt. Ltd. and Naina Parekh by email on May 28, 2021.

                                          /s/ Anya Engel
                                          Anya Engel




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